           Case 24-16283-JKS Doc 21-4 Filed 10/15/24 Entered 10/15/24 15:36:04                                                            Desc
                     Exhibit D- PNC Bank Account 4943 Statements Page 1 of 4
Performance Select Statement
PNC Bank

                                                                                       Primary account number:                -4943
                                                                                       Page 1 of 2
               For the period           07/16/2024 to 08/14/2024                       Number of enclosures:          0

               LISA A ROMES #24-16283                                                           For 24-hour banking, and transaction or
               DEBTOR IN POSSESSION                                                             interest rate information, sign-on to
               5125 GLENBROOK RD                                                                PNC Bank Online Banking at pnc.com
               STROUDSBURG PA 18360-6793
                                                                                                For customer service call 1-888-PNC-BANK
                                                                                                PNC accepts Telecommunications Relay Service
                                                                                                (TRS) calls.
                                                                                                Para servicio en espanol, 1-866-HOLA-PNC

                                                                                        Moving? Please contact us at 1-888-PNC-BANK


                                                                                                Write to: Customer Service
                                                                                                PO Box 609
                                                                                                Pittsburgh, PA 15230-9738
                                                                                                Visit us at pnc.com

                                                                                                                  LISA A ROMES #24-16283
Performance Select
                                                                                                                  Debtor In Possession
Interest Checking Account Summary
Account number:                    -4943

Overdraft Protection has not been established for this account.
 Please contact us if you would like to set up this service.

Balance Summary
                   Beginning              Deposits and       Checks and other           Ending
                     balance            other additions           deductions           balance
                    663.08                 1,001.00                1,010.29           653.79
                                                              Average monthly          Charges
                                                                      balance          and fees
                                                                     643.68             24.39

Transaction Summary
                        Checks         Debit Card POS      Debit Card/Bankcard
               paid/withdrawals     signed transactions   POS PIN transactions
                               0                     8                        0
                     Total ATM          PNC Bank ATM          Other Bank ATM
                   transactions           transactions            transactions
                               2                     1                        1

Interest Summary                                                                                         As of 08/14, a total of $.49 in interest
                                                                                                         was paid this year.
             Annual Percentage Number of days in          Average collected          Interest
           Yield Earned (APYE)    interest period         balance for APYE        Earned this
                                                                                      period
                       0.00%                    30                643.68                 .00


Activity Detail
Deposits and Other Additions                                                                             There were 2 Deposits and Other
Date                           Amount       Description                                                  Additions totaling $1,001.00.
07/29                    1,000.00           Online Transfer From                                5397
08/14                        1.00           Other Fin Inst ATM Surcharge Reimb
Banking/Debit Card Withdrawals and Purchases                                           There was 1 Banking Machine
Date                           Amount       Description                                Withdrawal totaling $51.00.

                                            5390 Debit Card Purchase Wmt Plus Jul 2024 There  were 10 other Banking
07/17                          13.73                                                   Machine/Debit Card deductions
07/22                          33.05        5390 Debit Card Purchase                   totaling $269.79.
                                            Amazon.com*Rs4H16Rl2




Banking/Debit Card Withdrawals and Purchases continued on next page
               Case 24-16283-JKS Doc 21-4 Filed 10/15/24 Entered 10/15/24 15:36:04                                                                Desc
                         Exhibit D- PNC Bank Account 4943 Statements Page 2 of 4
Performance Select Statement
                                                                                               For the period 07/16/2024        to   08/14/2024
       For 24-hour information,sign on to PNC Bank Online Banking                              LISA A ROMES #24-16283
       on pnc.com                                                                              Primary account number:                 943
Account Number:                      -4943 - continued                                         Page 2 of 2

Banking/Debit Card Withdrawals and Purchases                                       continued
Date                                Amount         Description

07/29                               49.80          5390 Debit Card Purchase Amazon
                                                   Mktpl*Rv2Tr0532
07/29                               20.89          5390 Debit Card Purchase Acme 0294
                                                   Ventnor Cit
07/29                                 4.23         N0728 5390 Payment Hulu Santa Monica Ca
08/01                                 4.76         5390 Debit Card Purchase McDonald's
                                                   F10930
08/02                               74.19          5390 Recurring Debit Card Apple.Com/Bill
08/05                               51.00          ATM Withdrawal 550 Main St Brockway PA
08/08                               55.76          5390 Debit Card Purchase Maritas Cantina
08/14                               12.99          5390 Debit Card Purchase Photoaid 15-540
                                                   Bial
08/14                                   .39        Intl Purch & Adv Fee Vis 0813       Pl
Online and Electronic Banking Deductions                                                                      There were 2 Online or Electronic
Date                                Amount         Description                                                Banking Deductions totaling
                                                                                                              $664.50.
07/22                             264.50           Corporate ACH Hrac Paymt Hrac 73666
07/29                             400.00           Web Pmt- Payment Venmo            2197
Other Deductions                                                                                              There was 1 Other Deduction
Date                                Amount         Description                                                totaling $25.00.

08/14                               25.00          Monthly Service Charge                   Ld
Daily Balance Detail
Date                      Balance                  Date                 Balance     Date                Balance          Date                 Balance
07/16                      663.08                  07/29                 876.88     08/02               797.93           08/08                691.17
07/17                      649.35                  08/01                 872.12     08/05               746.93           08/14                653.79
07/22                      351.80

PERFORMANCE SELECT - Service Charge Explanation
Account type              Account number               Balance type               As of             Balance     These accounts were reviewed to meet the
                                                                                                                balance requirements of your Performance
Interest Checking         XX-XXXX-4943                 This Cycle Avg Balance     08/14              644.48     Select Account. Since balance requirements
                                                                                                                were not met this month, a $25.00 fee was
                                                                                                                deducted from this account.
Note: The average balance shown was calculated before the service charge was deducted from your account.




Member FDIC                                                                       Equal Housing Lender
           Case 24-16283-JKS Doc 21-4 Filed 10/15/24 Entered 10/15/24 15:36:04                                                          Desc
                     Exhibit D- PNC Bank Account 4943 Statements Page 3 of 4
Performance Select Statement
PNC Bank                                                                                                                 PO Box 609
                                                                                                                         Pittsburgh, PA 15230-9738
                                                                                      Primary account number: XX-XXXX-4943
                                                                                      Page 1 of 2
               For the period         08/15/2024 to 09/16/2024                        Number of enclosures:          0

               LISA A ROMES #24-16283                                                          For 24-hour banking, and transaction or
               DEBTOR IN POSSESSION                                                            interest rate information, sign-on to
               5125 GLENBROOK RD                                                               PNC Bank Online Banking at pnc.com
               STROUDSBURG PA 18360-6793                                                       For customer service call 1-888-PNC-BANK
                                                                                               Para servicio en espanol, 1-866-HOLA-PNC


                                                                                       Moving? Please contact us at 1-888-PNC-BANK
                                                                                               Visit us at pnc.com


                                                                                               PNC accepts Telecommunications Relay Service (TRS)
                                                                                               calls.

IMPORTANT INFORMATION ABOUT CONSUMER CHECK QUANTITIES

Effective September 29, 2024, check order quantities for the following categories will decrease as follows:

>Consumer Wallet Single, Wallet Duplicate, Personal Value Packs, Wallet Top Stub, and Wallet End Stub
will decrease from 80 to 60 checks
>Consumer Personal Deposit Tickets Single and Duplicate will decrease from 100 to 80 deposit tickets

There will be no changes to the quantities of any other consumer check types, including PNC Exclusive Wallet
and PNC Exclusive Wallet Duplicate.

If you have questions regarding these changes, please call the number at the top of this statement or visit a
PNC branch.
                                                                                                                 LISA A ROMES #24-16283
Performance Select
                                                                                                                 DEBTOR IN POSSESSION
Interest Checking Account Summary
Account number:        XX-XXXX-4943

Overdraft Protection has not been established for this account.
 Please contact us if you would like to set up this service.

Balance Summary
                   Beginning             Deposits and       Checks and other           Ending
                     balance           other additions           deductions           balance
                    653.79                   500.00                 741.34           412.45
                                                             Average monthly          Charges
                                                                     balance          and fees
                                                                    595.48             25.00

Transaction Summary
                        Checks        Debit Card POS      Debit Card/Bankcard
               paid/withdrawals    signed transactions   POS PIN transactions
                               0                    12                       0
                     Total ATM        PNC Bank ATM           Other Bank ATM
                   transactions         transactions             transactions
                               1                    1                        0

Interest Summary                                                                                        As of 09/16, a total of $.49 in interest
                                                                                                        was paid this year.
             Annual Percentage Number of days in         Average collected          Interest
           Yield Earned (APYE)    interest period        balance for APYE        Earned this
                                                                                     period
                       0.00%                   33                595.48                 .00
               Case 24-16283-JKS Doc 21-4 Filed 10/15/24 Entered 10/15/24 15:36:04                                                          Desc
                         Exhibit D- PNC Bank Account 4943 Statements Page 4 of 4
Performance Select Statement
                                                                                             For the period 08/15/2024 to 09/16/2024
       For 24-hour information,sign on to PNC Bank Online Banking                            LISA A ROMES #24-16283
       on pnc.com                                                                            Primary account number: XX-XXXX-4943
Account Number:           XX-XXXX-            - continued                                    Page 2 of 2
                          4943

Activity Detail
Deposits and Other Additions                                                                               There was 1 Deposit or Other
Date                                Amount         Description                                             Addition totaling $500.00.
08/27                             500.00           Online Transfer From                          2001
Banking/Debit Card Withdrawals and Purchases                                                               There were 13 other Banking
Date                                Amount         Description                                             Machine/Debit Card deductions
                                                                                                           totaling $451.84.
08/16                               13.73          5390 Recurring Debit Card Wmt Plus Aug
                                                   2024
08/16                               12.72          5390 Recurring Debit Card Earthbreeze.Com
08/21                               16.70          5390 Debit Card Purchase Amazon
                                                   Mktpl*R46Af1P52
08/23                               21.88          5390 Debit Card Purchase Amazon
                                                   Mktpl*R433O8T81
08/26                               19.43          5390 Debit Card Purchase Amazon
                                                   Mktpl*R45V621F1
08/26                               11.45          5390 Debit Card Purchase Amazon
                                                   Mktpl*R422P56L1
08/28                                4.23          N0828 5390 Payment Hulu Santa Monica Ca
08/29                               65.62          5390 Debit Card Purchase The Home Depot
                                                   #4127
09/10                               56.16          5390 Debit Card Purchase Tractor Supply
                                                   #2238
09/13                               44.50          5390 Debit Card Purchase Amazon
                                                   Mktpl*Z82054E61
09/13                             127.19           5390 Recurring Debit Card Apple.Com/Bill
09/16                              44.50           5390 Debit Card Purchase Amazon
                                                   Mktpl*4060B67G3
09/16                               13.73          5390 Recurring Debit Card Wmt Plus Sep
                                                   2024
Online and Electronic Banking Deductions                                                                   There was 1 Online or Electronic
Date                                Amount         Description                                             Banking Deduction totaling $264.50.

08/20                             264.50           Corporate ACH Hrac Paymt Hrac 73666
Other Deductions                                                                                           There was 1 Other Deduction
Date                                Amount         Description                                             totaling $25.00.

09/16                               25.00          Monthly Service Charge                   Ld
Daily Balance Detail
Date                      Balance                  Date                 Balance     Date              Balance         Date                 Balance
08/15                      653.79                  08/21                 346.14     08/27             793.38          09/10                667.37
08/16                      627.34                  08/23                 324.26     08/28             789.15          09/13                495.68
08/20                      362.84                  08/26                 293.38     08/29             723.53          09/16                412.45

PERFORMANCE SELECT - Service Charge Explanation
Account type              Account number               Balance type               As of          Balance     These accounts were reviewed to meet the
                                                                                                             balance requirements of your Performance
Interest Checking         XX-XXXX-4943                 This Cycle Avg Balance     09/16           596.24     Select Account. Since balance requirements
                                                                                                             were not met this month, a $25.00 fee was
                                                                                                             deducted from this account.
Note: The average balance shown was calculated before the service charge was deducted from your account.




Member FDIC                                                                       Equal Housing Lender
